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                            Exhibit 16
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                                  In The Matter Of:
           ALEKSEJ GUBAREV, XBT HOLDING SA and WEBZILLA, INC v.
                         BUZZFEED, INC and BEN SMITH




                                Mr Christopher Steele
                                   June 18, 2018




                                 Original File C Steele Deposition.txt
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                                                                             1

    1                       Mr Christopher Steele

    2            CONFIDENTIAL - ATTORNEYS' EYES ONLY
                IN THE UNITED STATES DISTRICT COURT
    3               SOUTHERN DISTRICT OF FLORIDA
         ______________________________
    4                                   :
         ALEKSEJ GUBAREV, XBT HOLDING : Case No:
    5    SA and WEBZILLA, INC           : 17-cv-60426-UU
                                        :
    6                   Plaintiffs      :
                                        :
    7                   -v-             :
                                        :
    8    BUZZFEED, INC and BEN SMITH    :
                                        :
    9                   Defendants      :
         ______________________________:
   10
   11                       Videotaped deposition

   12                                    of

   13                       Mr Christopher Steele
   14

   15                     On Monday, June 18th 2018

   16
   17                       Commencing at 9.35 am

   18

   19                               Taken at:

   20                            15 Old Bailey

   21                                London
   22                               EC4M 7EF

   23                           United Kingdom

   24

   25    Reported by: Miss Pamela Henley

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    1                       Mr Christopher Steele

    2              Q.       Do you understand that some of the

    3    materials that you will be shown today have been

    4    designated as confidential pursuant to that

    5    confidentiality stipulation?

    6              A.       I do.

    7              Q.       Thank you.

    8                       MR BAILIN:      Could voices be a

    9    little higher, please.         Thank you.

   10    BY MR FRAY-WITZER:
   11              Q.       Mr Steele, are you currently

   12    employed?

   13              A.       I am employed.
   14              Q.       And can you tell us, please, by

   15    whom you are employed?

   16              A.       I am employed by Orbis Business
   17    Intelligence Limited.

   18              Q.       And what is Orbis Business

   19    Intelligence Limited?

   20              A.       Orbis Business Intelligence Limited

   21    is an investigative firm and a business
   22    intelligence firm based in London, England.

   23              Q.       And, just generally, what kind of

   24    work do you perform?

   25              A.       As it says on our website, we

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    1                       Mr Christopher Steele

    2    conduct investigations for clients.             We provide

    3    intelligence for clients, and we provide strategic

    4    advice for clients.

    5              Q.       Is Orbis business Intelligence

    6    Limited connected in any way to any government

    7    entity?

    8              A.       No, it is not.

    9              Q.       It is a private company?

   10              A.       It is a private company.          Privately
   11    owned and listed company.

   12              Q.       When did you first form Orbis?

   13              A.       Orbis Business Intelligence was
   14    incorporated on 16th March, 2009.

   15              Q.       Do you have any partners in Orbis

   16    Business Intelligence?
   17              A.       I do, my partner in Orbis Business

   18    Intelligence is Christopher Parker Burrows.

   19              Q.       Would you say that Orbis Business

   20    Intelligence has been a successful enterprise for

   21    you?
   22              A.       I would indeed.

   23                       MS EIKHOFF:      Object to form.       You

   24    can answer.

   25              A.       I would indeed, on the basis that

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                                                                            23

    1                       Mr Christopher Steele

    2    stenographer please read back the question?

    3                 (Preceding question read back)

    4                       THE EXAMINER:       US plaintiffs'

    5    submission.

    6                       MR FRAY-WITZER:       It is simply a

    7    follow up question to the witness's statement that

    8    they utilize independent contractors for

    9    intelligence gathering.

   10                       THE EXAMINER:       Defendants.
   11                       MR BLACK:       We do not object.       We

   12    join in with the plaintiffs.           We think it is an

   13    entirely legitimate question, and one of the
   14    important matters that is under litigation in this

   15    case to understand how information was gathered

   16    and put into the memorandums.
   17                       THE EXAMINER:       My opinion is it is

   18    not within the topic.

   19                       Witness, you can choose what to do.

   20              A.       I choose not to answer.

   21    BY MR FRAY-WITZER:
   22              Q.       Is Sir Andrew Wood an independent

   23    contractor for Orbis Business Intelligence

   24    Limited?

   25              A.       No, he is not.

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    1                       Mr Christopher Steele

    2              Q.       Does he serve as a consultant or

    3    adviser to Orbis Business Intelligence Limited?

    4              A.       I would say he was an informal

    5    adviser, not a formal one, and not employed as

    6    such.

    7              Q.       On average can you tell us what

    8    your annual take home pay and other benefits from

    9    Orbis are?

   10                       MS EIKHOFF:      Object to form.
   11                       MR MILLAR:      We object to that on

   12    the ground it is not within topic 1.             That is

   13    detail about his earnings.
   14                       The only thing it could be covered

   15    by is employment history (in general terms).               The

   16    only thing it could be covered by in topic 1 is
   17    employment history (in general terms).              But it is

   18    neither historical, it is current, and it is not

   19    in general terms.       It is a specific question about

   20    earnings.

   21                       THE EXAMINER:       My opinion is it is
   22    within the employment history for what that may be

   23    worth.

   24                       You can choose whether to answer.

   25              A.       Choose whether to answer? What I

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    1                       Mr Christopher Steele

    2    BY MR FRAY-WITZER:

    3              Q.       Can you tell us, please, what the

    4    highest level of education is that you have

    5    achieved?

    6              A.       I have a master of arts degree from

    7    Cambridge University in social and political

    8    science.

    9              Q.       And do you hold any other degrees?

   10              A.       I hold no other degrees.
   11              Q.       Would you please, in general terms,

   12    outline for us your employment history from the

   13    time that you earned your masters degree to the
   14    time that you formed Orbis?

   15              A.       Certainly.      I joined the Foreign

   16    and Commonwealth Office in April 1987. I served as
   17    Second Secretary in Moscow from 1990 to 1993.                I

   18    then served as First Secretary in Paris from 1998

   19    to 2002. And I retired from the Foreign &

   20    Commonwealth Office in September 2009.

   21              Q.       And, again, just in general terms
   22    if you could explain to me what a Second Secretary

   23    does, again just very generally, what that

   24    position entailed?

   25                       MR MILLAR:      We object to that

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    1                       Mr Christopher Steele

    2    question.      There is provision in the order for the

    3    witness not to -- this is in paragraph 4 of the

    4    Senior Master's order, the witness not to have to

    5    answer any question that would require the consent

    6    of Mr Steele former Crown employer before

    7    answering the question.         And I take instructions

    8    from my client that is a question that requires

    9    consent.

   10                       MR BLAKE:       On behalf of the
   11    Foreign & Commonwealth Office that question would

   12    require consent of Mr Steele's former Crown

   13    employer.      It is something that would have come to
   14    his notice as a Crown servant or relating to

   15    something that would require consent.

   16                       THE EXAMINER:       I will hear the US
   17    plaintiffs and US defendants, but --

   18                       MR FRAY-WITZER:       We will withdraw

   19    the question.

   20                       THE EXAMINER:       Thank you.

   21    BY MR FRAY-WITZER:
   22              Q.       Is it accurate to say that from

   23    1990 to 1993, you were in country in Russia?

   24              A.       Indeed, as I just explained to you,

   25    that is the case.

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   1                       Mr Christopher Steele

   2              Q.       You detailed for us your employment

   3    history 1990 to 1993, and I believe 1998 to 2002,

   4    are you able to tell us between 1993 and 1998 what

   5    position you held?

   6              A.       I am not.

   7              Q.       Are you able to tell us between

   8    2002 and September of 2009, what positions you

   9    held?

  10              A.       I am not, for the same reason, it

  11    would require Crown consent which I have not got.

  12              Q.       Have you returned to Russia since

  13    1993?
  14                       MR MILLAR:      We object to that

  15    question. It is not a question that falls within

  16    the scope of topic 1.         And the answer to the

  17    question would require Crown consent.

  18                       MR BLAKE:     Again, on behalf of the

  19    Foreign & Commonwealth Office insofar as it

  20    relates to Mr Steele's employment with the Foreign

  21    & Commonwealth Office that would require the

  22    consent of the Foreign & Commonwealth Office.

  23                     (Reporter clarification)

  24                       THE EXAMINER:       US plaintiffs, do

  25    you wish to withdraw or reformulate your question?

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   1                       Mr Christopher Steele

   2              A.       I did not.

   3            (Exhibit 4 marked for identification)

   4              Q.       Did you discuss your deposition

   5    today with the FCO?

   6              A.       I did not.

   7              Q.       You are being shown what has been

   8    marked as Exhibit Number 4 to your deposition, can

   9    you tell me if you recognize this document.

  10              A.       I do.
  11              Q.       And can you tell us what this

  12    document is?

  13              A.       It is what it says it is, which is
  14    an intelligence memorandum concerning Russia's

  15    interference in the 2016 American presidential

  16    election.
  17              Q.       If I refer to this document as the

  18    December memo, would that be acceptable?

  19              A.       Yes.

  20              Q.       When did you create this document?

  21              A.       I believe it was created on the
  22    given date, which is 13th December 2016.

  23              Q.       I am sorry, I got ahead of myself,

  24    let me just ask, did you create this document?

  25              A.       I did create this document.

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   1                       Mr Christopher Steele

   2                       THE VIDEOGRAPHER:        Back on the

   3    record at 10.43.

   4    BY MR FRAY-WITZER:

   5              Q.       Mr Steele, did you travel to Russia

   6    to verify any of the allegations contained in the

   7    December memo?

   8              A.       No.

   9              Q.       Have you traveled to Russia at any
  10    time since leaving the FCO?

  11              A.       Not since 2009.

  12              Q.       You describe the information

  13    contained in the December memo as raw
  14    intelligence, is that correct?

  15              A.       Yes.
  16              Q.       Tell us, please, what it means for

  17    something to be raw intelligence?

  18              A.       I would define it as information

  19    that is passed to you directly from a source.

  20    That source could be human.          Could be technical in

  21    its original form, and which, therefore, is

  22    pre-analysis, so it has not been analyzed as such.
  23    Does not mean it has not been looked at in terms

  24    of verification, but has not been fully analyzed.

  25            (Exhibit 6 marked for identification)

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   1                       Mr Christopher Steele

   2              Q.       Mr Simpson says, and, again,

   3    supposedly paraphrasing you:

   4                       "It is HUMIT, right?         It is human

   5    source information...         and humans sometimes lie,

   6    and more frequently they just get it wrong."

   7                       Did you say words to that effect to

   8    Mr Simpson?

   9                       MR MILLAR:      The objection is the

  10    same, it is not within topic 2.
  11                       MR FRAY-WITZER:       The response is

  12    the same.

  13                       THE EXAMINER:       My opinion is the
  14    same.    The witness can --

  15              A.       I am choosing not to answer again.

  16    BY MR FRAY-WITZER:
  17              Q.       In making efforts to verify the

  18    allegations about the plaintiffs contained in the

  19    December memo did you take into account the fact

  20    that raw intelligence might later prove to be

  21    incorrect or untrue?
  22                       MS EIKHOFF:      Object to form.

  23              A.       Yes.

  24    BY MR FRAY-WITZER:

  25              Q.       In making your efforts to verify

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   1                       Mr Christopher Steele

   2    the information contained in the December memo

   3    about the plaintiffs did you take into account the

   4    fact that raw intelligence might include

   5    deliberately false information?

   6              A.       Yes.

   7              Q.       In attempting to verify the

   8    information contained in the December memo

   9    concerning the plaintiffs did you take into

  10    account the possibility that a Russian business
  11    competitor might give false information in order

  12    to harm a competitor?

  13                       MS EIKHOFF:      Object to form.
  14                       MR MILLAR:      I am going to object to

  15    that on the basis that we are straying very near

  16    to increasing the existing risk of confidential
  17    intelligence sources being identified.

  18                       If the question could be rephrased

  19    in a way that does not require the witness to

  20    positively aver the status of his source that

  21    might avoid the problem.
  22                       THE EXAMINER:       US plaintiffs, do

  23    you want to reformulate?

  24                       MR FRAY-WITZER:       I am certainly

  25    happy to try.

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   1                       Mr Christopher Steele

   2    BY MR FRAY-WITZER:

   3              Q.       Did you authorize BuzzFeed to

   4    publish the December memo?

   5              A.       No.

   6              Q.       Did you provide copies of the

   7    December memo to BuzzFeed?

   8              A.       I did not.

   9              Q.       To whom did you provide copies of

  10    the December memo?
  11              A.       As we have stated in our English

  12    proceedings, I provided copies of the December

  13    memo to Fusion GPS for onward passage to David
  14    Kramer at the request of Senator John McCain, and

  15    also to a senior British national security

  16    official.
  17              Q.       When you provided a copy of the

  18    December memo to Fusion GPS did you intend for the

  19    December memo to be published to the world at

  20    large?

  21              A.       No.
  22              Q.       Did you authorize Fusion GPS to

  23    publish the memo to the world at large?

  24              A.       I did not.

  25              Q.       You have described the December

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   1                       Mr Christopher Steele

   2    do you know if the December memo was provided to

   3    the Penn Quarter Group?

   4              A.       Not to my understanding, no.

   5                       THE EXAMINER:       It is actually

   6    nearly 10 to 12, and I have just been informed the

   7    tape is running low, could we take a 5-minute

   8    break for the sake of both recordings.

   9                       THE VIDEOGRAPHER:        This is the end

  10    of media 1 in the deposition of Christopher
  11    Steele. Going off the record at 11.39.

  12                           (Recess taken)

  13                       THE VIDEOGRAPHER:        This is the
  14    beginning of media 2 in the deposition of

  15    Christopher Steele.        Going on the record at 11.48.

  16    BY MR FRAY-WITZER:
  17              Q.       In providing the December memo to

  18    Fusion GPS did you give Fusion GPS any cautions or

  19    warnings concerning the nature of the information

  20    contained in the December memo?

  21                       MS EIKHOFF:      Objection.
  22              A.       I cannot remember precisely, but

  23    the memo would have been covered by the same

  24    caveats that all memos were covered by in the

  25    provision of them to Fusion.

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   1                       Mr Christopher Steele

   2    BY MR FRAY-WITZER:

   3              Q.       And what prior caveats had you

   4    given to Fusion that would apply to the December

   5    memo?

   6              A.       I cannot remember exact wording,

   7    but the standard wording is along the lines of

   8    this is material from human source or sources

   9    regarded as credible, and it is produced to the

  10    best of our knowledge and ability to be accurate
  11    and true.

  12              Q.       When you provided the December memo

  13    to Mr Simpson did you caution him that a central
  14    problem when you are a Russian intelligence expert

  15    is disinformation and the Russians have a long

  16    history and advanced capability in disinformation?
  17                       MS EIKHOFF:      Object to form.

  18                       MR MILLAR:      This is not covered by

  19    topics 3, 4 and 5.

  20                       THE EXAMINER:       US plaintiffs.

  21                       MR FRAY-WITZER:       This is about what
  22    was said during the provision of the memo to

  23    Fusion GPS.      It is precisely within the topics.

  24                       THE EXAMINER:       My opinion is that

  25    it is outside the topics which are provision, and

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   1                       Mr Christopher Steele

   2    not what is said on provision. There may be a way

   3    of reformulating.

   4                       The witness can choose to answer.

   5              A.       You said there may be a way of

   6    reformulating so perhaps you would like to try and

   7    reformulate the question.

   8    BY MR FRAY-WITZER:

   9              Q.       In providing the December memo to

  10    Fusion GPS did you provide cautions against the
  11    possibility that there might be Russian

  12    disinformation contained therein?

  13                       MS EIKHOFF:      Object to form.
  14                       MR MILLAR:      Well, it is the same

  15    objection.     It is not about the provision of the

  16    report, it is about what he said to Fusion.               Did
  17    not say to Fusion.

  18                       We could open up an entire line of

  19    questioning about what he did and did not say to

  20    Fusion, but that is not encompassed within the

  21    topic.
  22                       MS BROWN:     Well, I would suggest

  23    that at the time of the hearing before the Master

  24    it was acknowledged that the very purpose of the

  25    line of questioning related to provision of the

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   1                       Mr Christopher Steele

   2                       THE EXAMINER:       Well, I cannot see

   3    that there is a question within a question, do you

   4    object to this, Mr Millar?

   5                       MR MILLAR:      Well, I will withdraw

   6    the objection to this question.           I will listen for

   7    the next one.

   8                       MS EIKHOFF:      I do object to form.

   9                       THE EXAMINER:       Mr Steele, you can

  10    choose whether to answer, but the objection has
  11    been withdrawn.

  12              A.       Well, I will answer then.          2 points

  13    really, one, is that a general understanding
  14    existed between us and Fusion during this topic --

  15    during this project, that all material contained

  16    this risk, but that any information that was
  17    actually provided would have been subject to

  18    scrutiny in respect of this risk, and a warning,

  19    specific warning would have been issued had we

  20    believed that, as we would say, I think, the

  21    source was intending to influence as well as
  22    inform.     I think that covers the point.

  23                       The other point is that this memo

  24    was not for the consumption of Fusion or for their

  25    former client, it was for the consumption of

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   1                       Mr Christopher Steele

   2    Senator McCain, and, therefore, we would not

   3    specifically have caveated this memo in that way,

   4    other than to Mr Kramer or Senator McCain.

   5              Q.       Do you know if it was caveated in

   6    that way to Senator McCain or David Kramer?

   7              A.       I do not know whether specifically

   8    this had been, but, obviously, the issue had come

   9    up in previous conversation with Mr Kramer.

  10              Q.       What caveats and warnings did you
  11    provide to Mr Kramer?

  12              A.       At our meeting in Surrey in

  13    November 2016, I gave him the caveats and warnings
  14    that I have indicated to you that we would apply

  15    to any such report.

  16              Q.       If you would turn, please, to
  17    page 33 of the Kramer deposition, at line 15

  18    Mr Kramer is asked:

  19                       "Did Mr Steele tell you whether and

  20    to what extent he had been able to verify the

  21    information he had gathered?"
  22                       "Answer:     He explained that what

  23    was produced was -- that what was produced was

  24    that needed to be corroborated and verified, he

  25    himself did not feel that he was in a position to

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   1                       Mr Christopher Steele

   2    vouch for everything that was produced in this."

   3                       Was that one of the cautions and

   4    caveats that you have just referred to him?

   5                       MR MILLAR:      This topic is about --

   6    I am objecting to that question.            It may be

   7    possible to reformulate it.          This topic is about

   8    the provision of simply the December memorandum,

   9    and as I understand it that the evidence tabled

  10    from Mr Kramer was not limited in that way.
  11                       So if there is a question of that

  12    sort that is specific to Document 166 and the

  13    provision to Mr Kramer of that via the consultants
  14    then that would not be objectionable.

  15                       THE EXAMINER:       Would you like to

  16    reformulate.
  17                       MR FRAY-WITZER:       Well, I believe

  18    that the witness testified that in the provision

  19    of the December memo he believed that the caveats

  20    that he gave Mr Kramer carried over from the

  21    original meeting to the December memo, and so the
  22    only way to ask about the December memo is to ask

  23    about caveats that the witness himself says

  24    carried over.

  25                       MR MILLAR:      Yes, well, do not ask

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   1                       Mr Christopher Steele

   2    him about this deposition. Ask him the direct

   3    question.      It is perfectly straightforward.

   4    BY MR FRAY-WITZER:

   5              Q.       Did you -- was one of the caveats

   6    and cautions that you provided to Mr Kramer the

   7    fact that the information needed to be

   8    corroborated and verified?

   9              A.       I would say further corroborated

  10    and verified.
  11              Q.       Was one of the caveats and cautions

  12    that you gave to Mr Kramer that you did not feel

  13    that you were in a position to vouch for
  14    everything that was produced in the memos?

  15              A.       Yes, with the emphasis on,

  16    "everything".
  17              Q.       Was one of the cautions that you

  18    gave to Mr Kramer that you were dealing with raw

  19    intelligence?

  20              A.       It is difficult to answer that with

  21    a "yes" or "no". In general, yes. But, obviously,
  22    not always single source, and, therefore, it is

  23    more complicated than is assumed by the question.

  24              Q.       Was one the caveats and cautions

  25    that you gave to Mr Kramer that you were dealing

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   2    with human intelligence?

   3              A.       Yes.

   4              Q.       Why did you give that caution?

   5              A.       Because human intelligence is not a

   6    science. It is a complicated set of principles and

   7    information which have to be analyzed in an

   8    equally complicated and thorough way.

   9              Q.       When you provided the December memo

  10    to Fusion did you have any conversations with them
  11    concerning the truth or falsity of the allegations

  12    concerning the plaintiffs contained in that memo?

  13              A.       Not to my memory.
  14              Q.       When you provided the December memo

  15    to Fusion GPS did you have any conversations about

  16    XBT?
  17              A.       Not specifically that I recall.

  18              Q.       When you provided the December memo

  19    to Fusion GPS did you specifically have any

  20    conversations with them concerning Webzilla?

  21              A.       Not that I can recall.
  22              Q.       And when you provided the December

  23    memo to Fusion GPS did you have any specific

  24    conversations with them concerning Aleksej

  25    Gubarev?

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   2    occur on one single occasion.           And the question

   3    that can be asked is about the discrete provision

   4    of Dossier 166 which happened later in December

   5    after the election.

   6                       THE EXAMINER:       I follow the

   7    objection.     Are the defendants prepared to break

   8    the question down so that it becomes apparent that

   9    their question concerns this document, whether or

  10    not it includes other documents.
  11    BY MR BLACK:

  12              Q.       Did you seek to share company

  13    report 166 with Senator John McCain?
  14              A.       I did.

  15              Q.       Why?

  16              A.       Because I judged it had national
  17    security implications for the United States and

  18    the West as a whole.

  19              Q.       Did you do -- let me withdrew that.

  20                       Did you seek to send it to Senator

  21    McCain through David Kramer?
  22              A.       Yes, Senator McCain had requested

  23    that I did so through David Kramer.

  24              Q.       Did you share it with Senator

  25    McCain because you knew he was the chair of the

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   2    United States Senate Armed Services Committee?

   3              A.       Yes.

   4              Q.       Did you share it with him because

   5    you knew he was also a member of the United States

   6    Senate Committee on Homeland Security and

   7    Governmental Affairs?

   8              A.       Yes.

   9              Q.       Did you use David Kramer as an

  10    intermediary because he was a former United States
  11    State Department civil servant?

  12              A.       Senator McCain nominated him as the

  13    intermediary.      I did not choose him as the
  14    intermediary.

  15              Q.       Did you know that he was a former

  16    civil servant in the United States Department of
  17    State?

  18              A.       I did.

  19              Q.       Did you know that he, in fact, was

  20    the United States Assistant Secretary of State for

  21    Democracy, Human Rights and Labour from 2008 to
  22    2009?

  23              A.       I did.

  24              Q.       Did you also know that he was the

  25    Senior Director For Human Rights and Human

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   1                       Mr Christopher Steele

   2    Freedoms at Senator McCain's Institute for

   3    International Leadership?

   4                       MR FRAY-WITZER:       Objection to form.

   5              A.       I did. Objection?

   6                       THE EXAMINER:       Objection to form.

   7    Could you expand on that?

   8                       MR FRAY-WITZER:       If you would like

   9    I would be happy to.        It is an objection to form

  10    for the US proceedings.
  11                       THE EXAMINER:       Only for the US

  12    proceedings.

  13              A.       I answered the question, I believe.
  14                       MR BLACK:       Yes, you did.

  15              Q.       What was your understanding as to

  16    what Senator McCain would do with the memorandum
  17    166 once he received it?

  18                       MR FRAY-WITZER:       Objection.

  19                       THE EXAMINER:       Objection to form,

  20    you can continue.

  21              A.       Okay.    Could you say objection to
  22    form, please, and I can understand whether I need

  23    to halt or not.

  24                       MR FRAY-WITZER:       I will tell you

  25    that any objection that comes from me will be an

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   2    objection to form.

   3                       THE WITNESS:      Okay. Because

   4    sometimes I cannot hear you saying it up there so

   5    perhaps you could.        Thank you. Sorry, the question

   6    again was?

   7    BY MR BLACK:

   8              Q.       What was it that you hoped Senator

   9    McCain would do once you gave him the company

  10    report 166?
  11                       MR FRAY-WITZER:       Objection to form.

  12              A.       Raise it with the competent US

  13    investigative authorities.
  14              Q.       For what purpose?

  15              A.       Investigation and for validation.

  16              Q.       How important -- how much
  17    importance did you put on the information that you

  18    were giving to Senator McCain?

  19                       MR MILLAR:      I do not think that is

  20    a question that is covered by a topic.

  21                       THE EXAMINER:       Are you objecting?
  22                       MR MILLAR:      Yes, I am objecting,

  23    yes. I mean, he has been asked what the purpose of

  24    provision of the document to Senator McCain was.

  25    He has given answers to that. Clearly he can be

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   1                       Mr Christopher Steele

   2    affected the national security of the United

   3    States?

   4                       MR FRAY-WITZER:       Objection to form.

   5              A.       Yes.

   6                       MR BLACK:       Thank you very much.        I

   7    have no further questions.

   8                       THE EXAMINER:       US plaintiffs want

   9    to reexamine?

  10                       MR GURVITS:      Yes, we will take a
  11    5-minute break.

  12                       THE VIDEOGRAPHER:        Going off the

  13    record at 1.41 pm.
  14                           (Recess taken)

  15                       THE VIDEOGRAPHER:        Back on the

  16    record at 1.45.
  17    BY MR FRAY-WITZER:

  18              Q.       You were just asked a series of

  19    questions concerning your having provided the

  20    December memo to Senator McCain, correct?

  21              A.       Correct.
  22              Q.       You did not actually provide the

  23    December memo to Senator McCain, did you?

  24              A.       No, I provided it to the nominated

  25    intermediary of Senator McCain.

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   2              Q.       You did not have direct

   3    conversations with Senator McCain concerning the

   4    provision of the December memo, is that correct?

   5              A.       Not direct ones, no.

   6                       MR FRAY-WITZER:       No further

   7    questions.

   8                       THE EXAMINER:       Thank you.

   9                       MS EIKHOFF:      On behalf of the

  10    witness as in producing parties we would like to
  11    designate the entirety of his testimony today as

  12    "attorneys' eyes only" information, pursuant to

  13    the amended confidentiality stipulation of the
  14    protective order that has been entered in this

  15    case in the Southern District of Florida.

  16                       THE EXAMINER:       US parties, is that
  17    agreed?

  18                       MR FRAY-WITZER:       That is the right

  19    of any party and any individual providing

  20    testimony, so that is certainly their right.

  21                       THE EXAMINER:       Is it necessary to
  22    have any order for English proceedings ancillary

  23    to that as far as those present are concerned?

  24                       MR MILLAR:      No, not as far as we

  25    are concerned.       The exchange is on the record.           So

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